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                                                          U.S. Department of Justice

                                                          Matthew Graves
                                                          United States Attomey

                                                        District of Columbia


                                                        Pahck Henry Building
                                                        601 D Street. N.W.
                                                        Wdshinglon. D.C. 20530




                                                                May 16,2022
VIA EMAIL
Eugene_Ohm@fd.org

Eugene Ohm. Esq.
Federal Public Defender
625 Indiana Avenue, N.W
Washington, DC 20001

                       Re:     United States v. Stephen Ayres
                               Criminal Case No. 2l -cr- l 56 (JDB)

Dear Counsel:

         This letter sets forth the full and complete plea offer to your client, Stephen Ayres
(hereinafter referred to as "your client" or "defendant"), from the Office of the United States
Attomey for the District of Columbia (hereinafter also referred to as "the Government" or "this
Office"). This plea offer expires on June 8, 2022. lfyour client accepts the terms and conditions
of this offer, please have your client execute this document in the space provided below. Upon
receipt ofthe executed document. this letter will become the Plea Agreement (hereinafter referred
to as "this Agreement"). The terms ofthe offer are as follows:

       A.       Charses and Statuton Penalties

        Your client agrees to plead guilty to Count Three ofthe Indictiment, charging your client
with Disorderly and Disrupttive Conduct in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(2).

        Your client understands that. because your client did not carry a weapon or engage in
conduct resulting in death or significant bodily injury, a violation of Title 18, United States Code,
Section 1752(a)(2) carries a maximum sentence of one (l) year of imprisonment; a fine of not
more than $ I 00,000, pursuant to I 8 U.S.C. $ 3571(bX5); and a term of supervised release of not
more than I year, pursuant to l8 U.S.C. $ 3583(bX3). Your client also understands that, pursuant
to l8 U.S.C. $ 3572 and $ 5El .2 of the United States Sentencing Commission, Guidelines Manual
(2018) (hereinafter ''sentencing Guidelines,'' "Guidelines," or "U.S.S.G."), the Court may' also




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impose a fine that is sufficient to pay the federal government the costs ofany imprisonment, term
of supervised release. and period of probation.

        B.      CooDeration with Ad ditional Investisation

        Your client agrees to allow law enforcement agents to review any social media accounts
operated by your client for statements and postings in and around January 6,2021, and conduct
an interview ofyour client regarding the events in and around January 6,2021 prior to
sentencing.


        C.      FactualStipulations

        Your client agrees that the attached "Statement ofOflense" fairly and accurately describes
your client's actions and involvement in the offense to which your client is pleading guilty. Please
have your client sign and retum the Statement of Offense as a written proffer of evidence, along
with this Agreement.

        D.      Additional Charses

        In consideration of your client's guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The Govemment will request that the Court dismiss the remaining counts of the
Indictment in this case at the time of sentencing. Your client agrees and acknowledges that the
charges to be dismissed at the time ofsentencing were based in fact.

        After the entry of your client's plea of guilty to the offenses identified in paragraph A
above, your client will not be charged with any non-violent criminal offense in violation ofFederal
or District of Columbia law which was committed within the District of Columbia by your client
prior to the execution of this Agreement and about which this Office was made aware by your
client prior to the execution of this Agreement. However, the United States expressly reserves its
right to prosecute your client for any crime of violence, as defined in l8 U.S.C. $ 16 andlor 22
D.C. Code $ 4501, if in fact your client committed or commits such a crime of violence prior to or
afler the execution olthis Agreement.

        E.     Sentencins Guidelines Anah sis

        Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in l8 U.S.C. $ 3553(a), including a consideration ofthe Sentencing
Guidelines. Pursuant to Federal Rule of Criminal Procedure I I (c)( I )(B), and to assist the Court in
determining the appropriate sentence, the parties agree to the following with respect to a violation
of Title 18, United States Code, Section 17 52(a)(2):
               l.    Estimated Offense Level Under the Guidelines




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             The parties agree that the follou'ing Sentencing Guidelines sections apply

                    U.S.S.G.   Q   2A2.4(a)                                                     t0

                    2.   Acceptance of Responsibility

         The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G. $
3    l, provided that your client clearly demonstrates acceptance of responsibility, to the satisfaction
    EI   .

ofthe Govemment, through your client's allocution, adherence to every provision ofthis Agreement,
and conduct between entry ofthe plea and imposition ofsentence.

        Nothing in this Agreement limits the right of the Govemment to seek denial of the
adjustment for acceptance of responsibility. pursuant to U.S.S.G. S 3El.l, and/or imposition ofan
adjustment for obstruction ofjustice, pursuant to U.S.S.G. S 3C I . 1, regardless of any agreement set
forth above, should your client move to withdraw your client's guilty plea after it is entered, or
should it be determined by the Govemment that your client has either (a) engaged in conduct,
unknown to the Govemment at the lime ofthe signing of this Agreement, that constitutes obstruction
ofjustice, or (b) engaged in additional criminal conduct after signing this Agreement.

             In accordance with the above, the Estimated Offense Level   will   be at least 8

                    3. Estimated Criminal History Category

         Based upon the information now available to this Office, your client has no prior criminal
convictions. Accordingly, your client is estimated to have 0 criminal history points and your client's
Criminal History Category is estimated to be I (the "Estimated Criminal History Category"). your
client acknowledges that after the pre-sentence investigation by the United States Probation Office, a
different conclusion regarding your client's criminal convictions and/or criminal history points may
be reached and your client's criminal history points may increase or decrease.

                    4. Estimated Guidelines Range

         Based upon the Estimated Offense Level and the Estimated Criminal History Category set forth
above, your client's estimated Sentencing Guidelines range is 0 months to 6 months (the "Estimated
Cuidelines Range"). ln addition, the parties agree that, pursuant to U.S.S.G. S 5E I .2, should the Court
impose a fine, at Guidelines level 8, the estimated applicable fine range is $2,000 to $20,000. Your
client reserves the right to ask the Court not to impose any applicable fine.

                    5. Agreement      as to Sentencing   Allocution

        The parties agree that a sentence within the Estimated Guidelines Range would constitute
a reasonable sentence in light ofall ofthe factors set forth in l8 U.S.C. g 3553(a), should such a
sentence be subject to appellate review notwithstanding the appeal waiver provided below.
However, the parties agree that either party may seek a variance and suggest that the Court consider
a sentence outside ofthe applicable Guidelines Range, based upon the factors to be considered in
imposing a sentence pursuant to l8 U.S.C. $ 3553(a).




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        F.      Reservation of Allocution

        The Govemment and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness ofyour client's misconduct, including
any misconduct not described in the charges to which your client is pleading guilty, to inform the
presentence report writer and the Court of any relevant facts, to dispute any factual inaccuracies
in the presentence report, and to contest any matters not provided for in this Agreement.

         In addition. if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right ofallocution
in connection with any post-sentence motion which may be filed in this matter and/or any
proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Govemment is not obligated and does not intend to file any post-sentence downward depanure
motion in this case pursuant to Rule 35(b) ofthe Federal Rules of Criminal Procedure.

        G.     Court Not Bound bv this Aereement

        Your client understands that the sentence in this case will be imposed in accordance with
l8 U.S.C. $ 3553(a). Your client further understands that the sentence to be imposed is a matter
solely within the discretion of the Court. Your client acknowledges that the Court is not obligated
to follow any recommendation of the Govemment at the time of sentencing. Your client
understands that the Government's recommendation is not binding on the Court.

        Your client acknowledges that your client's entry ofa guilty plea to the charged offense(s)
authorizes the Court to impose any sentence, up to and including the statutory maximum sentence.
The Government cannot, and does not, make any promise or representation as to what sentence
your client will receive. Moreover, it is understood that your client will have no right to withdraw
your client's plea of guilty should the Court impose a sentence that does not follow the
Govemment's sentencing recommendation- The Govemment and your client will be bound by
this Agreement, regardless of the sentence imposed by the Court. Any effort by your client to
withdraw the guilty plea because of the length of the sentence shall constitute a breach of this
Agreement.

       H.      Conditions of Release

        Your client acknowledges that, although the Government will not seek a change in your
client's release conditions pending sentencing, the final decision regarding your client's bond
status or detention will be made by the Court at the time of your client's plea of guilty. The
Govemment may move to change your client's conditions of release, including requesting that
your client be detained pending sentencing, ifyour client engages in further criminal conduct prior
to sentencing or if the Govemment obtains information that it did not possess at the time ofyour
client's plea of guilty and that is relevant to whether your client is likely to flee or pose a danger
to any person or the community. Yourclientalso agrees that any violation ofyourclient's release


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conditions or any misconduct by your client may result in the Govemment filing an 9I pgftq motion
with the Court requesting that a bench warrant be issued for your client's arrest and that your client
be detained without bond while pending sentencing in your client's case.

        l.     Waivers


               I.      Venue

        Your client waives any challenge to venue in the District of Columbia

               2.      Statute of Limitations

         Your client agrees that, should the conviction following your client,s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of offense, that is not time-barred by the appticable statute of
limitations on the date ofthe signing ofthis Agreement (including any counts that the Government
has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement) may be
commenced or reinstated against your client. notwithstanding the expiration of the statute ol
limitations between the signing of this Agreement and the commencement or reinstatement of such
prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution ofconduct set forth in the attached Statement ofOffense
that is not time-barred on the date that this Agreement is signed.

               3.      Trial Rights

         Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution ofthe United States and,/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not atready
provided at the time ofthe entry ofyour client's guilty plea. Your client also agrees to waive.
among other rights, the right to plead not guilty, and the right to ajury trial. Ifthere wereajury
trial, your client would have the right to be represented by counsel, to confront and cross-
examine witnesses against your client, to challenge the admissibility ofevidence offered against
your client, to compel witnesses to appear for the purpose oftestifying and presenting other
evidence on your client's behalf, and to choose whether to testify. Ifthere were ajury trial and
your client chose not to testiry at that trial, your client would have the right to have thejury
instructed that your client's failure to testify could not be held against your client. Your client
would further have the right to have thejury instructed that your client is presumed innocent
until proven guilty, and that the burden would be on the United States to prove your client's guilt
beyond a reasonable doubt. Ifyourclient were found guilty afteratrial, your client would have
the right to appeal your client's conviction. Your client understands that the Fifth Amendment to
the Constitution ofthe United States protects your client from the use of self-incriminating
statements in a criminal prosecution. By entering a plea of guilty. your client knowingly and
voluntarily waives or gives up your client's right against self-incrimination.




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         Your client acknowledges discussing with you Rule I l(l) ofthe Federal Rules of Criminal
Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the admissibility
of statements made by a defendant in the course ofplea discussions or plea proceedings ifa guilty
plea is later withdrawn. Your client knowingly and voluntarily waives the rights that arise under
these rules in the event your client withdraws your client's guilty plea or withdraws from this
Agreement after signing it.

        Your client also agrees to waive all constitutional and statutory rights to a speedy sentence
and agrees that the plea of guilty pursuant to this Agreement will be entered at a time decided upon
by the parties with the concurrence of the Court. Your client understands that the date for
sentencing will be set by the Court.

                4.     Appeal Rights

        Your client agrees to waive, insofar as such waiver is permitted by law, the right to appeal
the conviction in this case on any basis, including but not limited to claim(s) that (l) the statute(s)
to which your client is pleading guilty is unconstitutional. and (2) the admitted conduct does not
fall within the scope ofthe statute(s). Your client understands that federal law, specifically l8
U.S.C. S 3742, affords defendants the right to appeal their sentences in certain circumstances.
Your client also agrees to waive the right to appeal the sentence in this case, including but not
limited to any term of imprisonment, fine, forfeiture, award of restitution, authority olthe Court
to set conditions of release, and the manner in which the sentence was determined, except to the
extent the Court sentences your client above the statutory maximum determined by the Court. ln
agreeing to this waiver, your client is aware that your client's sentence has yet to be determined
by the Court. Realizing the uncertainfy in estimating what sentence the Court ultimately will
impose, your client knowingly and willingly waives your client's right to appeal the sentence, to
the extent noted above, in exchange for the concessions made by the Govemment in this
Agreement. Notwithstanding the above agreement to waive the right to appeal the conviction and
sentence, your client retains the right to appeal on the basis of ineffective assistance of counsel,
but not to raise on appeal other issues regarding the conviction or sentence.

                5.     Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. $ 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under l8 U.S.C.
$ 3s82(c)(2).

                6.     Hearings by Vidm Teleconference and/or Teleconference

        Your client agrees to consent. under the CARES Act, Section 15002(bX4) and otherwise,
to hold any proceedings in this matter - specifically including but not limited to presentment, initial
appearance, plea hearing, and sentencing - by video teleconference and/or by teleconference and


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to waive any rights to demand an in-person/in-Court hearing. Your client further agrees to not
 challenge or contest any findings by the Court that it may properly proceed by video
teleconferencing and,/or telephone conferencing in this case because, due to the COVID-19
 pandemic, an in-person/in-Court hearing cannot be conducted in person without seriously
jeopardizing public health and safet) and that further there are specific reasons in this case that
any such hearing, including a plea or sentencing hearing, cannot be further delayed without serious
harm to the interests ofjustice.

        .1.       Use of Self-Incrim   inating Infornration

        The Govemment and your client agree, that the Govemment will be free to use against
your client for any purpose at the sentencing in this case or in any related criminal or civil
proceedings, any self-incriminating information provided by your client pursuant to this
Agreement or during the course of debriefings conducted in anticipation of this Agreement,
regardless ofwhether those debriefings were previously covered by an "off the record" agreement
by the parties.

        K.        Breach of Aqreement

         Your client understands and agrees that, ifafter entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client's obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will have
breached this Agreement. In the event of such a breach: (a) the Govemment will be free from its
obligations under this Agreement; (b) your client will not have the right to withdraw the guilty
plea; (c) your client will be fully subject to criminal prosecution for any other crimes. including
perj ury and obstruction ofjustice: and (d) the Government will be free to use against your client,
directly and indirectly, in any criminal or civil proceeding, all statements made by your client and
any ofthe information or materials provided by your client, including such statements. information
and materials provided pursuant to this Agreement or during the course of any debriefings
conducted in anticipation of, or after entry of. this Agreement, whether or not the debriefings were
previously characterized as "off-the-record" debriefings, and including your client's statements
made during proceedings before the Court pursuant to Rule I I ofthe Federal Rules of Criminal
Procedure.

       Your client understands and agrees that the Govemment shall be required to prove a breach
ofthis Agreement only by a preponderance ofthe evidence. except where such breach is based on
a violation of federal, state, or local criminal law, which the Government need prove only by
probable cause in order to establish a breach of this Agreement.

        Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstructjustice, or to protect your client from prosecution
for any crimes not included within this Agreement or committed by your client after the execution
of this Agreement. Your client understands and agrees that the Govemment reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury, false
statements or declarations, or obstruction ofjustice relating to your client's obligations under this




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Agreement shall constitute a breach of this Agreement. In the event ofsuch a breach, your client
will not be allowed to withdraw your client's guilty plea.

       L.      Complete Agreement

       No agreements, promises, understandings, or representations have been made by the parties
or their counsel other than those contained in writing herein, nor will any such       agreements,
promises, understandings, or representations be made unless committed to writing and signed by
your client, defense counsel. and an Assistant United States Attomey for the District of Columbia.

       Your client further understands that this Agreement is binding only upon the Criminal and
Superior Court Divisions of the United States Attorney's Office for the District of Columbia. This
Agreement does not bind the Civil Division of this Office or any other United States Attorney's
Office, nor does it bind any other state. local, or federal prosecutor. It also does not bar or
compromise any civil, tax, or administrative claim pending or that may be made against yourclient.

       If the foregoing terms and conditions are satisfactory, your client may so indicate   by
signing this Agreement and the Statement of Offense, and retuming both to me no later than June
8,2022.

                                                     Sincerely yours,


                                                     //fu-, eq'/
                                                     Matthew Graves
                                                     united states Attorney

                                                           I
                                                               /
                                             By:          f/            I
                                                     Nihar Mohanty
                                                     Assistant United States Attomey




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                                DEFENDANT'S ACCEPTANCE

       f        read every page of this Agreement and have discussed
                                                                        it with my anomey, Eugene
       -have
ohm. I fully understand this Agrcemenl     and agree to it without reservation. I do this vJuntar y
and of my own free w r, intending to be legalrf bound.
                                                           No threats h"r" urro r"a"-io       ,i"lo,
I under the.influence of anyhing that         imiede my abilityto understand this Agreement fulty.
                                                                                                "o,
                                       -could
I am pleading guilry because I am in fact                        identifi;l;;l; i;;;;;,.
                                           guiltv orthe offensllsy

      I reaffirm tlrat absorutely no. promises, agreements, understandings, or conditions
                                                                                          have
been made or entered into in connection with my iecision to pread
this Agreement. I am satisfied with the regar services provided
                                                                  gu ty eicept       ,rr"r"   ."   i"nr, i"
this Agreement and matters related to it.
                                                                by my attomey   i,                    *itr
                                                                                     "on ""tioo




oute:S-LS        -2o2L
                                     s
                                     Defendant


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        I have read every page of this Agreement, reviewed this Agreemeut
                                                                          with my client, Stephen
Ayres, and fully discussed thc provisions of this Agreemeniwith
                                                                       my clieni. rr"r" pog..
accurately and completely set forth the entire Agreement. I concur in
                                                                      my client's desire to plead
gullty as set forth in this Agreement.




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                                     Eugene Ohn, Esq.
                                     Attomey for Defendant




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